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                          Exhibit A
                                         Case:17-03283-LTS InDoc#:2645-1                   Filed:03/01/18
                                                             re: The Financial Oversight and Management Board for PuertoEntered:03/01/18
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                                                                                                        PROMESA Title III No. 17 BK 3283-LTS


         First Interim Fee Period Uncontested Fees
                                                                                                                  Fee Examiner's                               Fee Examiner's
                                                                                                                                                  Interim                                               Interim Fees  Interim Expenses
                                                                                                  Interim Fees    Recommended                                  Recommended              Voluntary
         Applicant                                                   Compensation Period                                                         Expenses                                            Recommended for Recommended for
                                                                                                   Requested           Fee                                        Expense               Discounts
                                                                                                                                                Requested                                                 Approval        Approval
                                                                                                                   Adjustments                                  Adjustments
         Financial Advisors to Debtors
   1     Ernst & Young LLP [Dkt. No. 2036]                           5/3/2017 - 9/30/2017     $    1,169,699.80   $     33,230.32           $       4,910.69   $      839.80               yes       $   1,136,469.48    $     4,070.89
         Financial Advisors to Debtors
         Deloitte Financial Advisory Services LLP [Dkt. No. 2061 &
   2                                                                 5/3/2017 - 9/30/2017     $    6,647,370.29   $     46,329.31           $     441,830.04   $    9,309.35               yes       $   6,601,040.98    $   432,520.69
         2149]
         Puerto Rico Bankruptcy Counsel to PREPA
   3     Cancio, Nadal, Rivera & Diaz, PSC [Dkt. No. 2135]           7/1/2017 - 9/30/2017     $      220,295.00    $           -            $        701.27 $            -                  -        $      220,295.00   $      701.27
         Special Counsel to Debtors
   4     Luskin Stern & Eisler LLP [Dkt. No. 2077]                   5/3/2017 - 9/30/2017     $      324,975.50   $     16,628.43           $       2,172.59   $       71.95                -        $      308,347.07   $     2,100.64
         Counsel to the Puerto Rico Fiscal Agency and Financial Advisory Authority
  5-a O'Melveny & Myers LLP [Dkt. No. 2062]                          5/3/2017 - 9/30/2017     $    9,990,147.15    $ 262,924.65      FN1    $     184,126.63   $   11,037.76     FN2       yes       $   9,727,222.50    $   173,088.87
         Counsel to the Puerto Rico Fiscal Agency and Financial Advisory Authority - COFINA
 5-b O'Melveny & Myers LLP [Dkt. No. 2063]                       5/5/2017 - 9/30/2017         $    2,782,774.28                             $      48,206.98                               yes       $   2,782,774.28    $    48,206.98
     Counsel to the Puerto Rico Fiscal Agency and Financial Advisory Authority - ERS
  5-cO'Melveny & Myers LLP [Dkt. No. 2064]                       5/21/2017 - 9/30/2017 $ 1,272,965.00                                       $      19,854.00                               yes       $   1,272,965.00    $    19,854.00
     Counsel to the Puerto Rico Fiscal Agency and Financial Advisory Authority - HTA
 5-d O'Melveny & Myers LLP [Dkt. No. 2065]                       5/21/2017 - 9/30/2017 $ 2,028,863.49                                       $      67,533.13                               yes       $   2,028,863.49    $    67,533.13
     Puerto Rico Counsel to the Puerto Rico Fiscal Agency and Financial Advisory Authority
 6-a Law Offices of Andres W. Lopez, PSC [Dkt. No. 2096]          5/3/2017 - 9/30/2017 $           59,360.00       $           -            $        200.00 $            -                  -        $       59,360.00   $      200.00
     Puerto Rico Counsel to the Puerto Rico Fiscal Agency and Financial Advisory Authority - COFINA docket
     Law Offices of Andres W. Lopez, PSC [Dkt. No. 246 17-
 6-b                                                              5/5/2017 - 9/30/2017 $           15,890.00       $           -            $            -     $         -                  -        $       15,890.00 $            -
     3284]
     Puerto Rico Counsel to the Puerto Rico Fiscal Agency and Financial Advisory Authority - ERS docket
     Law Offices of Andres W. Lopez, PSC [Dkt. No. 241 17-
  6-c                                                            5/21/2017 - 9/30/2017 $             5,425.00 $                -            $            -     $         -                  -        $        5,425.00 $            -
     3566]
     Puerto Rico Counsel to the Puerto Rico Fiscal Agency and Financial Advisory Authority - HTA docket
     Law Offices of Andres W. Lopez, PSC [Dkt. No. 356 17-
 6-d                                                             5/21/2017 - 9/30/2017 $           24,080.00 $                 -            $            -     $         -                  -        $       24,080.00 $            -
     3567]
     Bankruptcy Counsel to the Puerto Rico Fiscal Agency and Financial Advisory Authority, as fiscal agent for PREPA
  7-a Greenberg Traurig, LLP [Dkt. No. 2112]                         7/2/2017 - 9/30/2017     $    2,037,466.72   $     59,410.11           $      23,832.82   $   12,571.62               yes       $   1,978,056.61    $    11,261.20
         Bankruptcy Counsel to PREPA
 7-b Greenberg Traurig, LLP [Dkt. No. 2111]                          7/2/2017 - 9/30/2017     $    1,356,635.10                             $      57,025.81                               yes       $   1,356,635.10    $    57,025.81
         COFINA Agent
   8     Bettina M. Whyte [Dkt. No. 2097]                            8/3/2017 - 9/30/2017     $      264,460.00   $     15,273.50    FN3    $      21,392.86   $    4,615.70     FN4        -        $      249,186.50   $    16,777.16
         Special Municipal Bankruptcy Counsel to COFINA Agent
   9     Klee, Tuchin, Bogdanoff & Stern LLP [Dkt. No. 2099]         7/31/2017 - 9/30/2017    $      592,705.00   $     40,509.85    FN5    $      11,133.88   $      935.22                -        $      552,195.15   $    10,198.66
         Puerto Rico Counsel to COFINA Agent
  10     Nilda M. Navarro-Cabrer [Dkt. No. 2038]                     8/16/2017 - 9/30/2017    $       35,962.50    $           -            $        431.50 $            -                  -        $       35,962.50   $      431.50
         Bankruptcy Counsel to COFINA Agent
  11     Willkie Farr & Gallagher LLP [Dkt. No. 2031]                8/3/2017 - 9/30/2017     $    4,661,711.75    $ 239,719.34      FN6    $     158,974.01   $   75,026.77    FN7,8      yes       $   4,421,992.41    $    83,947.24
         Bankruptcy Counsel to the Official Committee of Unsecured Creditors
  12     Paul Hastings LLP [Dkt. No. 2040]                          6/26/2017 - 9/30/2017     $     9,345,478.50 $       80,766.01    FN9   $     133,270.22 $      21,926.16              yes       $    9,264,712.49 $     111,344.06
         Puerto Rico Counsel to the Official Committee of Unsecured Creditors




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                                                                  re: The Financial Oversight and Management Board for PuertoEntered:03/01/18
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                                                                                                                                                                                                                                                                  Report - EXHIBIT A
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         First Interim Fee Period Uncontested Fees
                                                                                                                                         Fee Examiner's                                     Fee Examiner's
                                                                                                                                                                            Interim                                                           Interim Fees  Interim Expenses
                                                                                                                     Interim Fees        Recommended                                        Recommended                   Voluntary
         Applicant                                                                Compensation Period                                                                      Expenses                                                        Recommended for Recommended for
                                                                                                                      Requested               Fee                                              Expense                    Discounts
                                                                                                                                                                          Requested                                                             Approval        Approval
                                                                                                                                          Adjustments                                        Adjustments

  13     O'Neill & Gilmore Law Office LLC [Dkt. No. 2070]            5/3/2017 - 9/30/2017                       $         43,510.50      $       2,445.00             $       4,969.54 $                   -                   yes          $         41,065.50       $         4,969.54
         Puerto Rico Counsel to the Official Committee of Unsecured Creditors
  14     Casillas, Santiago & Torres, LLC [Dkt. No. 2079]            7/21/2017 - 8/31/2017                       $      169,523.00       $      (3,917.00)            $       6,320.62 $                   -                    -           $        173,440.00       $         6,320.62
         Financial Advisor to Official Committee of Unsecured Creditors
  15     Zolfo Cooper, LLC [Dkt. No. 2041]                           6/27/2017 - 9/30/2017                       $    2,641,266.75       $     55,092.08      FN10   $       38,372.69      $       2,424.39                   yes          $     2,586,174.67        $        35,948.30
         Bankruptcy Counsel to the Official Committee of Retired Employees
  16     Jenner & Block LLP [Dkt. No. 2050]                          6/16/2017 - 9/30/2017                       $    2,051,975.37       $     20,979.25             $       60,916.21      $         430.50                   yes          $     2,030,996.12        $        60,485.71
         Information Agent for the Official Committee of Retired Employees
  17     Marchand ICS Group [Dkt. No. 2048]                          7/21/2017 - 9/30/2017                      $         11,946.50      $             -             $           497.88 $                  -                    -           $         11,946.50      $             497.88
         Actuaries and Consultants to the Official Committee of Retired Employees
  18     Segal Consulting [Dkt. No. 2049]                                        6/27/2017 - 9/30/2017           $      223,475.00       $             -              $       5,305.47 $                   -                    -           $        223,475.00       $         5,305.47
         Financial Advisor to the Official Committee of Retired Employees
  19     FTI Consulting, Inc. [Dkt. No. 2051]                                    6/27/2017 - 9/30/2017           $      660,431.00       $       2,185.00             $       5,298.34      $         225.99                    -           $        658,246.00       $         5,072.35
         Financial Advisor to the Mediation Team
  20     Phoenix Management Services, LLC [Dkt. No. 2071]                         8/4/2017 - 10/1/2017           $      774,101.00       $       3,618.75            $       28,561.25      $       1,258.80                    -           $        770,482.25      $         27,302.45
         Members of the Official Committee of Retired Employees
  21     Retiree Committee Members [Dkt. No. 2052]                               6/15/2017 - 9/30/2017           $                -                                   $       1,052.94                            FN11          -           $                 -       $         1,052.94
         Member of the Official Committee of Unsecured Creditors
  22     Drivetrain, LLC [Dkt. No. 2042]                         6/15/2017 - 9/30/2017                           $                -                                   $       3,135.54 $                   -                    -           $                 -       $         3,135.54
         Pension Consultant to FOMB
  23     Pension Trustee Advisors, Inc. [Dkt. No. 2574]          7/29/2017 - 9/30/2017                          $         28,901.25      $       3,824.63             $       4,214.88      $       3,496.54                    -           $         25,076.62      $             718.34

         Sub-Totals                                                                                              $ 49,441,395.45          $ 879,019.23               $ 1,334,241.79 $            144,170.55                                 $    48,562,376.22        $    1,190,071.24
         FN1 - These recommended adjustments do not include $218,152.35 in pre-petition fees on which, as discussed at pages 14 and 15 of the Fee Examiner's report, the Fee Examiner has reserved his rights and seeks guidance from the Court.
         FN2 -These recommended adjustments do not include $18,410.00 in expense subject to further verification.
         FN3 - These recommended adjustments do not include $41,130 in fees incurred prior to the appointment of the COFINA Agent on which, as discussed at pages 14 and 15 of the Fee Examiner's report, the Fee Examiner has reserved his rights and seeks guidance from the
         Court.
         FN4 - These recommended adjustments do not include $5,102.57 in expenses incurred prior to the appointment of the COFINA Agent on which, as discssed at pages 14 and 15 of the Fee Examiner's report, the Fee Examiner has reserved his rights and seeks guidance from
         the Court.
         FN5 - These recommended adjustments do not include $66,578.50 in fees incurred prior to the appointment of the COFINA Agent on which, as discussed at pages 14 and 15 of the Fee Examiner's report, the Fee Examiner has reserved his rights and seeks guidance from the
         Court.
         FN6 - These recommended adjustments do not include $299,854. 20 in fees incurred prior to the appointment of the COFINA Agent on which, as discussed at pages 14 and 15 of the Fee Examiner's report, the Fee Examiner has reserved his rights and seeks guidance from
         the Court.
         FN7 - These recommended adjustments do not include $11,526.89 in expenses incurred prior to the appointment of the COFINA Agent on which, as discussed at pages 14 and 15 of the Fee Examiner's report, the Fee Examiner has reserved his rights and seeks guidance from
         the Court.
         FN8 - These recommended adjustments are without prejudice to the professional's rigt to re-submit certain expenses with complete documentation for re-evaluation in a subsequent fee period.
         FN9 - The Fee Examiner recommends that the stipulated fee reductions identified on this Exhibit, other than $13,507.00 for identified billing errors, be included within the agreed overall 20 per cent reduction in total fees sought by Paul Hastings LLP as part of its final fee
         application.
         FN10 - The Fee Examiner recommends that the stipulated fee reductions identified on this Exhibit, other than $1,496.00 for identified and acknowledged billing errors, be included with the agreed overall 20 per cent reduction in total fees sought by Zolfo Cooper, LLC as part
         of its final fee application.
         FN11 - Of this amount, $128.59 has been deferred for consideration in connection with the second interim fee period.




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                                                              The Financial Oversight andFiled:03/01/18
                                                                                         Management Board for PuertoEntered:03/01/18
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         First Interim Fee Period Unresolved
                                                                                                  Fee Examiner's                        Fee Examiner's
                                                                                                                           Interim                                      Interim Fees  Interim Expenses
                                                                                 Interim Fees     Recommended                           Recommended      Voluntary                                         Hearing
         Applicant                                   Compensation Period                                                  Expenses                                   Recommended for Recommended for
                                                                                  Requested            Fee                                 Expense       Discounts                                          Date
                                                                                                                         Requested                                        Approval        Approval
                                                                                                   Adjustments                           Adjustments

         Bankruptcy Counsel to Debtors
  1-a Proskauer Rose LLP [Dkt. No. 2068]             5/3/2017 - 9/30/2017    $    7,075,033.00                       $     233,148.09                       yes              deferred           deferred 4/25/2018
         Bankruptcy Counsel to Debtors COFINA
 1-b Proskauer Rose LLP [Dkt. No. 2043]              5/5/2017 - 9/30/2017    $    1,672,746.00                       $      16,605.84                       yes              deferred           deferred 4/25/2018
         Bankruptcy Counsel to Debtors ERS
  1-c Proskauer Rose LLP [Dkt. No. 2045]             5/21/2017 - 9/30/2017   $    1,586,156.00                       $      24,131.76                       yes              deferred           deferred 4/25/2018
         Bankruptcy Counsel to Debtors PREPA
 1-d Proskauer Rose LLP [Dkt. No. 2053]              7/2/2017 - 9/30/2017    $    1,099,888.00                       $      67,275.25                       yes              deferred           deferred 4/25/2018
         Bankruptcy Counsel to Debtors HTA
  1-e Proskauer Rose LLP [Dkt. No. 2066]             5/21/2017 - 9/30/2017   $    4,483,783.00                       $     154,512.19                       yes              deferred           deferred 4/25/2018
         Bankruptcy Counsel to Debtors
   2     O'Neill & Borges LLC [Dkt. No. 2075]        5/3/2017 - 9/30/2017    $      289,691.55                       $      20,863.50                       yes              deferred           deferred 4/25/2018
         Strategic Consultants to Debtors
   3     McKinsey & Company, Inc. [Dkt. No.2073]     5/3/2017 - 9/30/2017    $    5,120,000.00                       $            -                          -               deferred           deferred 4/25/2018
         Independent Contractor to Debtors
   4     Andrew Wolfe [Dkt. No. 2259]                8/1/2017 - 9/30/2017    $       50,000.00                       $       7,526.14                        -               deferred           deferred 4/25/2018
     Financial Advisors to the Puerto Rico Fiscal Agency and Financial Advisory Authority
     Ankura Consulting Group, LLC [Dkt. No.
 5-a                                                   6/1/2017 - 9/30/2017 $ 1,961,754.00                           $      63,804.29                        -               deferred           deferred 4/25/2018
     2148]
     Financial Advisors to PREPA
     Ankura Consulting Group, LLC [Dkt. No.
 5-b                                                   7/2/2017 - 9/30/2017 $ 2,260,252.50                           $     129,303.57                        -               deferred           deferred 4/25/2018
     2142]

         Sub-Totals Unresolved                                               $ 25,599,304.05 $                 -     $    717,170.63    $          -                 $           -      $            -
         Sub-Totals Uncontested                                              $ 49,441,395.45       $ 879,019.23      $ 1,334,241.79 $       144,170.55               $ 48,562,376.22    $   1,190,071.24
         Grand Totals                                                        $ 75,040,699.50       $ 879,019.23      $ 2,051,412.42 $       144,170.55               $ 48,562,376.22    $   1,190,071.24




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                          Exhibit B
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                                             MEMORANDUM


TO:               PROMESA Title III Professionals
FROM:             Brady Williamson, Fee Examiner
DATE:             November 10, 2017
SUBJECT:          Fee Review—Timeline and Process



        On November 8, 2017, the Court entered the First Amended Order Setting Procedures
for Interim Compensation and Reimbursement of Expenses of Professionals [Dkt. No. 1715] (the
“Interim Compensation Order”), moving the deadline for submitting first interim fee applications
to December 15, 2017, except as noted below for professionals based in Puerto Rico.1

       As you prepare your first interim fee submissions, this introductory memorandum will
provide some additional guidance on the fee review process. It’s based, in part, on the
experience gained in the Energy Future proceeding pending in Delaware and the Lehman
Brothers proceeding in the Southern District of New York, where most of the
PROMESA-Title III firms not based in Puerto Rico have practiced. The memorandum is also
based on the U.S. Trustee Guidelines and an initial and cursory review of the limited number of
monthly fee statements the Fee Examiner has received.

        As you know, the Court appointed the Fee Examiner on October 6, 2017, when it entered
the Order Pursuant to PROMESA Sections 316 and 317 and Bankruptcy Code Section 105(A)
Appointing a Fee Examiner and Related Relief [Dkt. No. 1416] (the “Fee Examiner Order”).
That Order also anticipated the retention of Godfrey & Kahn, S.C. as counsel and EDGE Legal
Strategies, P.S.C., subject to Court approval. See Application of Fee Examiner to Employ and
Retain Godfrey & Kahn, S.C. as Counsel to the Fee Examiner Nunc Pro Tunc to October 6, 2017
[Dkt. No 1548].

        You’ll receive memoranda like this one, periodically, providing updates on the review
process and addressing common matters, questions, and concerns that arise. This process is
collaborative and, to that end, we are always available for individual discussion. Please do not
hesitate to contact us at any time to discuss fee applications or provide feedback as part of a
productive and open dialogue with professionals.

1
 As noted in the Fee Examiner’s filings and the Interim Compensation Order, any professional based in Puerto Rico
may file a first interim fee application on or before November 15, 2017, noticed for Court consideration at the
December 20, 2017 omnibus hearing.
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        This memorandum provides basic information about the initial timing of the fee
examination process, the budget requirement, and instructions and suggestions on the process for
submitting fee applications for review, including the substantive standards that apply. The goal
is a constructive and collaborative process that, recognizing and reserving everyone’s rights,
makes it less onerous for the Court to review and approve professional fee applications
efficiently and promptly. As of today, no professional has submitted an interim fee application,
though we have received Monthly Fee Statements and data from some firms.

Schedule

        Pursuant to the Interim Compensation Order, the schedule for the Fee Examiner’s process
is outlined below:

  Fee Period         First Interim     Second Interim      Third Interim       Fourth Interim
                     May 3, 2017 –     October 1, 2017       February 1,        June 1, 2018 –
                     September 30,       – January 31,     2018 – May 31,       September 30,
                         2017                2018               2018                2018
End of Interim      September 30,      January 31,         May 31, 2018        September 30,
Compensation        2017               2018                                    2018
Period
Interim Fee         December 15,       March 19, 2018      July 16, 2018       November 16,
Applications        2017                                                       2018
Due
Initial Letter      February 15,       May 18, 2018        September 14,       January 14,
Report to           2018                                   2018                2019
Retained
Professionals
Final               February 28,       May 30, 2018        7 days prior to     7 days prior to
(Summary)           2018 (or 7 days    (or 7 days prior    scheduled           scheduled
Report Filed        prior to           to scheduled        hearing date        hearing date
                    scheduled          hearing date)
                    hearing date)
Estimated           March 7, 2018      June 6, 2018        Mid-October         Mid-February
Hearing Date        (Omnibus           (Omnibus
                    Hearing) or an     Hearing) or an
                    earlier date as    earlier date as
                    ordered by the     ordered by the
                    Court              Court


Budgets

       Retained Professionals should provide a non-binding, confidential budget for each month
beginning with January 2018. Please submit budgets no later than the 15th of the month prior to
the budgeted month. Budgets should be e-mailed directly to the Fee Examiner, counsel, and the
U.S. Trustee. These budgets—which are prospective—are advisory only. Budgets should be
substantially in the format of Attachment A, setting forth an estimate of the projected fees and
expenses for each month, a general description of the categories of anticipated services, and an



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explanation for any significant increase over the previous month’s fees. These are budgets—not
caps, not minimums, not maximums—submitted and reviewed in good faith.

Fee Review Criteria

       The Fee Examiner Order provides, among other things, that the Fee Examiner shall
determine whether requested fees and expenses comply with:

       1.        PROMESA sections 316 and 317;
       2.        Rule 2016-2 of the Federal Rules of Bankruptcy Procedure;
       3.        The Local Bankruptcy Rules;
       4.        The Interim Compensation Order [and First Amended Interim Compensation
                 Order]; and
       5.        The Guidelines for Reviewing Applications for Compensation and Reimbursement
                 of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11
                 Cases Effective as of November 1, 2013 (the “U.S. Trustee Guidelines”).

Initial Points

        The Guidelines that follow are just that, guidelines and not rigid rules. On the face of the
guidelines or as applied in the reports that you will receive, the process invites dialogue.
Particularly in light of the hurricane, the approach to fee submission and review that has proven
practical and effective elsewhere may well require adaptation. Just appointed on October 6,
2017, the Fee Examiner is well aware that a significant amount of professionals’ work will have
occurred prior to this memorandum. While these parameters are generally consistent with the
requirements of PROMESA and the U.S. Trustee Guidelines, and accordingly considered
standard bankruptcy billing practice, in some instances strict compliance may not be possible.
Please try to conform your fee and expense requests to the guidelines below, keeping in mind
that significant deviations from the requested formats may result in a delay in processing the
application.

         A number of firms have submitted monthly applications pursuant to the Interim
Compensation Order. With some exceptions, it will not be our practice to object to monthly
statements, in whole or in part. Yet an initial assessment of the monthly statements suggests
prospective problems—for example, with vague and incomplete descriptions of the services
provided (e.g., “analyze bankruptcy issues” and “miscellaneous emails” or “attention to…”) or
non-compensable administrative work. On expenses, it is already clear that transportation and
meal charges will raise questions. One of the reasons we’ve asked to defer the due date for the
initial interim compensation applications is to provide everyone with the opportunity to conform
their billing practices to the standards.

        Many firms increase rates at the beginning of the calendar year and, in addition, during
the calendar year—whether characterized as “step increases” for associates or as “general” or
“across the board rate increases.” Rate increases, no less than the basic hourly rate itself,
whether or not discounted for the circumstances here, are subject to the reasonableness standard.
While the market rate for professional services in a difficult and complex case like this is always



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a factor in setting and reviewing rates, it is not the only factor. That is especially true in the
extraordinary environment—legal and practical—of these proceedings. The length of these
proceedings cannot be predicted or projected, at least at this point, but rate increases proposed by
firms here should be given careful consideration by the professionals before they are submitted
as part of the monthly or interim fee process.




                                                 4
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                                                  GUIDELINES

Contents of Interim and Final Fee Applications

       Based upon the criteria outlined in the Fee Examiner Order and on the Fee Examiner’s
experience, each interim fee application should disclose:

         1.       Whether the applicant is seeking compensation under PROMESA sections 316
                  and 317 or another authority;

         2.       A summary of the terms and conditions of the Retained Professional’s
                  employment and compensation, including a statement consistent with Bankruptcy
                  Rule 2016 and, for the first application, a copy of the engagement letter;

         3.       Identification of all professionals who billed time during the relevant period,
                  including each professional’s billing rates and year of bar admission;

         4.       A list of all rate increases of any kind—including rate increases due to increasing
                  seniority—by timekeeper and amount, proposed by the Retained Professional
                  since it began working on these cases;

         5.       A statement that the Retained Professional’s client has (or has not) explicitly
                  consented to all rate increases;

         6.       The precise time period covered by the application;

         7.       Time and service entries in the appropriate electronic format, discussed below,
                  identifying participants, activities, and subject matters, arranged by specific
                  project categories, including brief narrative summaries of each project and its
                  benefit to the estate (non-working travel time should be a specific project
                  category);2

         8.       Time entries, in tenths of an hour, without “lumping” services together unless the
                  aggregate amount of time spent for those lumped services does not exceed
                  0.5 hours;

         9.       Explanations of tasks involving multiple individuals and the contributions of each
                  individual; and


2
  Electronic data should mirror precisely the amounts sought in the interim or final fee application. If write-offs or
other adjustments are made to the timekeeping, in the exercise of billing judgment, the electronic data will need to
reflect those adjustments. Data submitted on time, complete and consistent with the amounts requested in the
application, are all essential to the schedule outlined above.




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       10.     A detailed itemization of actual, necessary expenses.

Means of Service Upon the Fee Examiner

       Interim Fee Applications, supporting data, and budgets should be provided in the
appropriate electronic format (described below) by e-mail to adalton@gklaw.com,
kstadler@gklaw.com, and bwilliam@gklaw.com. In addition, please provide supporting data to
the Office of the U.S. Trustee by e-mail to Guy.Gebhardt@usdoj.gov. To minimize expense,
please do not serve hard copies of fee applications and supporting materials. Expenses for
duplicating or mailing fee application materials will be recommended for disallowance.

Electronic Data Format for Billing and Expense Detail

     All fee and expense detail should be submitted only in electronic format. YOU NEED
NOT PROVIDE PAPER COPIES OF BILLS OR INVOICES.

       1.      For law firms: simultaneously with the submission of any interim or final fee
               application, please provide electronic versions of any billing information in
               unedited LEDES™ (Legal Electronic Data Exchange Standard) file format.

       2.      For non-law firms: simultaneously with the submission of any interim or final fee
               application, Retained Professionals other than law firms should provide electronic
               versions of any billing information in Excel format using the fields and formats
               outlined on the attached Required Format for the Submission of Fee Requests by
               Professionals Other Than Law Firms.

       3.      In the event that any documentation accompanying an Interim Fee Application
               contains internal codes, which could assist in evaluating the Interim Fee
               Application (such as codes for fee, project or expense categories), the professional
               should submit an explanation of how the codes relate to any fee, project or
               expense categories.

       4.      When submitting a summary or cover sheet of all individuals who billed time in
               the Interim Fee Application, the summary should list the individuals
               alphabetically by last name within their particular category (e.g., all partners
               should be listed alphabetically).

Expenses

        The parameters set forth here are not hard and fast rules, and the Fee Examiner will
consider atypical reimbursement requests that are actual and necessary, especially in light of the
hurricane and its aftermath. With that in mind, the review and analysis generally will follow
these principles:




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Overhead and Administrative Charges

      •   In general, overhead and administrative expenses are not reimbursable, nor are
          infrastructure improvements, rent, utilities, office equipment, furnishings, insurance,
          custodial fees, internal storage fees, and property taxes.

      •   Internal photocopying and printing are reimbursable at 10 cents per page for black
          and white and, where color copies are necessary, 50 cents per page. Please provide
          vendor invoices for outside photocopying projects. The initial monthly statements
          already reflect excessive copying charges.

      •   Charges for internal printing, converting documents to electronic formats, scanning
          charges, and charges to convert and upload documents are not reimbursable.

      •   Word processing, proofreading, secretarial and other support expenses are not
          reimbursable, nor overtime charges.

      •   Telephone charges—including cellular phone fees and subscriptions, text fees, data
          fees, and roaming charges, other than actual charges for multi-party calls incurred by
          counsel in connection with the cases—are not reimbursable.

      •   Subscription, publication, or library charges are not reimbursable, nor office supplies.

Travel Expenses

      •   Neither the time nor travel expenses associated with traveling to other offices within a
          professional’s own firm are reimbursable—except for travel to attend hearings, client
          or third party meetings, or to prepare for them. Meetings should be conducted
          telephonically or by video conference wherever possible.

      •   Clothing, dry-cleaning, accessories, and travel sundries are not reimbursable.

      •   Local travel expenses (train, bus, subway, mileage, car service, taxi) to or from a
          professional’s home are not reimbursable unless a professional has worked at least
          four hours on these cases on the day for which the expense is sought and works after
          9:00 p.m. local time on these cases.

      •   For travel to or from airports, the maximum allowable amounts are outlined below.
          In each instance, they represent charges from a city center to an appropriate airport:

                       San Juan                                   $75.00
                       New York                                  $100.00
                       Chicago                                   $ 75.00
                       San Francisco                             $100.00
                       Los Angeles                               $100.00
                       Other Cities                              $ 75.00



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        •   While professionals are free to travel in any manner they wish, the Fee Examiner will
            not recommend reimbursement for first class travel. Please provide receipts for any
            travel expense exceeding $300.00.

        •   Tips or other service charges are reimbursable only if part of another itemized
            expense (for example, taxi or car service gratuity included on the receipt).
            Documented wait staff tips are reimbursable up to the applicable expense caps
            outlined below. Housekeeping, valet, concierge, and bell services tips are not
            reimbursable.

        •   Hotel expenses should be limited to reasonable market rates for the locale, but will
            not be reimbursed above $500.00 for New York City and Washington, D.C., $350.00
            for all other continental locations, and $300.00 for Puerto Rico. Taxes, service fees,
            and other charges are included in the reimbursement caps. Health or athletic
            facilities, in-room movies, or other entertainment charges are not reimbursable. In
            addition, in-room dining or other hotel food and beverage charges are subject to the
            meal guidelines in this memorandum.

Meals

        •   In-office meals are capped at $20.00 per person per meal and are reimbursable if:

               o The professional attends a necessary lunch-hour business meeting; or

               o The professional works on these cases after 8:00 p.m. and has worked more
                 than four hours on these cases during the billing day for which meal
                 reimbursement is sought.

        •   Coffee and snack charges are not reimbursable unless charged in lieu of in office
            meals allowable under the above-stated guideline.

        •   All catering orders must be supported by receipts or invoices. Catering invoices
            (internal and external) must indicate both the number of persons actually attending a
            business meeting and the amount charged per person.

        •   Out-of-office meals are capped at $40.00 per person per meal, reimbursable only if
            the professional has travelled to prepare for or attend a hearing, client or third party
            meeting, or other event. If a professional’s attendance at a hearing, meeting, or other
            event is unnecessary, the Fee Examiner will recommend both the professional’s fees
            and associated travel and meal expenses for disallowance.

        •   Regardless of the number of attendees, please provide receipts for any single meal
            costing more than $200.00 in the aggregate.

        •   Alcohol is never reimbursable.



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Note that the meal reimbursement cap is not a per diem. Applicants may be reimbursed for
either the actual cost of the meal, or the reimbursement cap, whichever is less.

Other Expenses

       •   Contract attorneys are reimbursable at their actual cost (that is, the rate charged by the
           agency or other provider placing the attorneys) without markup. Professionals should
           submit detailed billing statements for all contract attorneys, who are subject to the
           same standards of review for detail, accuracy and, ultimately, reasonableness as any
           other professional.

       •   In general, Retained Professionals should not submit reimbursement requests for any
           other firm’s professional (legal, financial advisory, investment banking, or
           accounting) services. If retention terms allow for sub-retentions, contract
           professionals must nonetheless submit detailed billing statements. All professional
           fees are subject to the same standards of review for detail, accuracy and, ultimately,
           reasonableness.

       •   Charges for electronic research services (Westlaw, Lexis-Nexis) should be
           accompanied by a general description of the research performed. Please include
           invoices for research expenses with your submission.

       •   Expenses related to seeking committee or other representation (pitching) are not
           reimbursable, nor is client entertainment.

       •   Expenses incurred prior to the Retained Professional’s nunc pro tunc retention date
           are not reimbursable unless otherwise permitted by the Court’s order authorizing the
           Retained Professional’s employment.

       •   Please provide receipts for all unusual or extraordinary expenses.

Please note that this list is not meant to be exhaustive, nor does it preclude individual
explanations for unusual items—any of which may meet the section 316 and 317 standards or
those suggested by the U.S. Trustee Guidelines and local rules. These general statements reflect
the Fee Examiner’s starting point for expense review, not its conclusion.

Fee Examiner Analysis of Billing Detail

       The Fee Examiner’s review is both quantitative and qualitative, including, at a minimum
and without limitation, examining:

              The hourly rates charged:

                      •   Ensure that billing rates for each professional are the rates approved in
                          the applicable engagement agreement, retention order, or supplement;




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                  •   Evaluate reasonableness of rates and the time spent in relation to the
                      nature and character of the work and each professional’s role and
                      experience;

                  •   Calculate blended rates;

                  •   Evaluate multiple rates billed to particular projects; and,

                  •   Eliminate charges for work performed by law students, clerks, or
                      summer associates.

           Hours billed:

                  •   Evaluate hours billed against any limitations in the engagement
                      agreement or retention order;

                  •   Analyze average billable hours each day and identify extended periods
                      of above average billing days;

                  •   Calculate fees or billable hours for preparation of firm retention
                      documents and fee applications as a percentage of total fees and
                      hours—time spent preparing and editing time records is never
                      compensable, nor is time spent preparing monthly fee statements
                      (which should be minimal);

                  •   Evaluate legal research to determine whether it is being conducted
                      appropriately and at the lowest appropriate rate;

                  •   Review clerical and administrative tasks to determine either the
                      propriety of the billing rate for the task or whether the task is
                      non-compensable;

                  •   Ensure that time is billed in one-tenth of an hour increments unless a
                      retention order permits another time increment;

                  •   Identify vague task descriptions that do not permit a reviewer to
                      determine the task’s necessity;

                  •   Identify improperly “lumped” or “block billed time”;

                  •   Ensure the use of properly segregated matter numbers for project
                      categories, generally consistent with the following:

                           o Debtor financing and cash collateral
                           o Communications with creditors/debtors




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                         o Asset sales
                         o Asset analysis and valuation
                         o Due diligence-analysis of loan and other security documents
                         o Lift stay or adequate protection matters
                         o Assumption and rejection of leases or executory contracts
                         o Avoidance actions (significant avoidance actions should have
                           their own matter identifier)
                         o Budgeting
                         o Business operations
                         o Case administration
                         o Claims and claims objections
                         o Governance matters
                         o Retention applications and disclosures-self
                         o Retention applications and disclosures-others
                         o Fee applications-self
                         o Fee applications-others
                         o Litigation (each litigation matter should have its own matter
                           identifier)
                         o Non-working travel
                         o Plan and disclosure statement
                         o Tax issues (individual governmental entity audits should have
                           their own matter identifiers)

                 •   Identify meetings, hearings, or other events attended by an excessive
                     number of timekeepers given the nature of the hearing or meeting and
                     the necessity of multiple attendees;

                 •   Ensure that non-working travel is billed only at 50 percent of the
                     timekeeper’s standard hourly rate;

                 •   Identify all calculation or billing errors;

                 •   Identify instances of duplication or overlap in work performed by
                     multiple Retained Professionals;

                 •   Ensure that tasks are appropriately delegated to the professional with
                     the lowest suitable billing rate for the task performed;




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                      •   Evaluate time spent monitoring or overseeing others’ work without
                          substantial contribution to work product; and

                      •   Waiting time or “standby time” is not reimbursable.

Fee Examiner Contacts

       We look forward to working you and trust that this memorandum will begin an open and
productive dialogue with professionals subject to the Fee Examiner Order. The Fee Examiner
and counsel can be reached using the contact information below. Please do not hesitate to
contact the Fee Examiner’s counsel if you have comments, questions or concerns about the fee
review process.

Attorney: Katherine Stadler
kstadler@gklaw.com

Data Specialist/Attorney: W. Andrew Dalton
adalton@gklaw.com

Paralegal: Kathleen Boucher
kboucher@gklaw.com

Fee Examiner

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Office: (608) 284-2636 (direct)
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Phone: (608) 257-3911
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                            Case:17-03283-LTS Doc#:2645-1 Filed:03/01/18 Entered:03/01/18 18:15:45 Desc:
                                  Required Format for the Submission of Fee Requests by Professionals Other Than Law Firms
                                                           Exhibit A thru C Page 22 of 22
                                               Note: The fields below are the minimum required; additional data fields may be provided.




                                                                                          FEES
FIELD:     INVOICE NUMBER       MATTER NAME           DATE   TIMEKEEPER NAME          POSITION/TITLE    HOURLY RATE      HOURS         FEES                   TASK DESCRIPTION
FORMAT:          any                any            YYYYMMDD Last, First                    text           currency       number      currency                       text

                                                                                                                                                Revise Exchange Analysis calculations in
EXAMPLES: GK012537-001      DIP Financing             20170521 Jordan, Michael J.   Analyst                      $325          0.6      $195.00 EFIH DIP budget.
          GK012539-107      Court Attendance          20170709 Embry, Elizabeth     Managing Director            $850          2.3    $1,955.00 Attend make whole litigation hearing.




                                                                                    EXPENSES

                                                                   NAME OF
                                                              TIMEKEEPER WHO
FIELD:     INVOICE NUMBER       MATTER NAME           DATE   INCURRED EXPENSE EXPENSE CATEGORY            UNIT COST     # OF UNITS    TOTAL                 EXPENSE DESCRIPTION
FORMAT:          any                any            YYYYMMDD Last, First              text                  currency       number     currency                       text

EXAMPLES: GK012537-001      Corporate Governance      20170527 Smith, John          Photocopies                 $0.10         128          $12.80 Photocopies: 128 pages.
                                                                                                                                                  Airfare (Coach): Roundtrip
                                                                                                                                                  Dallas/Wilmington to attend 7/19/14
          GK012539-107      Hearings                  20170719 Jones, Samantha      Airfare                                               $489.23 hearing
